IN THE UNITED sTATEs I)ISTRICT con 5 §§ f’“ §§:)
FoR THE EAsTERN DISTRICT 011 TENNES lsd '““ m

AT CHATTANOOGA
ZRIH AUG 30 19 3= 02
MARGARET GRIFFITH and TINA GRAUL, §\§~*§5§§§ §§§§§§§ § § §§§_§
next friends and Gnard.ian of NATH.AN DANIEL ` ` "
GRIFFITH, MARGARET GRIFFITH and TINA s\.f..,i_..._..-sss s cress

GRAUL, individually, and TINA GRAUL, Executrix
of the Estate of CARLTON E. GRIFFITH

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vs No i:'&?“Qi/-£ jr
n § ,§ f Qf'
AMERICAN BANKERS LIFE ASSURANCE coMPANY ‘~ 3 H£ “‘ 6a n
oF FLORIDA and FIRsT FoRTIs LIFE INSURANCE
coMPANY
Defendants

NOTICE OF REMOVAL

TO: THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF TENNESSEE, AT CHATI`ANOOGA

The Defendant, Arnerican Bankers life Assurance Cornpany of Florida (hereinafter,

on occasion, “American”), by and through counsel, a Defendant in the above entitled cause,
respectfully files notice with this Conrt of the removal of said cause from the Circuit Court for
Meigs Cou_nty, Tennessee, No. 3632, in Which it is now pending, to the United States District Court
for the Eastern District of Tennessee at Chattanooga, under and pursuant to the provisions of 28
U.S.C. §§ 1441 et req. As grounds for its notice, said Defendant Would show to the Court as follows:

1. The Plaintiffs, Margaret Gtiffith and Tina Gtaul, are citizens and residents of the
State of Tennessee.

2. The Defendant American is a foreign corporation With its principal Place of business

located in the State of Florida.

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3. Defendant First Fortis Life Insurance Company is a foreign corporation with its
principal place of business located in the State of New York.

4. This action vvas commenced on or about ]uly 26, 2007 by the filing of a Complaint
and the issuance of summonsesl The Defendant Arnerican received the Summons and Cornplaint
by \vay of certified U.S. mail on or about August 2, 2007, less than thirty days before the filing of
this notice. A true and correct copy of the summons and complaint served upon defendant
American are attached to this Notice as collective Exhibit A.

5. The Plaintiffs seek, by way of their Complaint and contract attached, damages in an
amount not less than SEVENTY-FIVE THOUSAND AND NO / 100 DOLLARS ($75,000.00).

6. Written notice of the filing of this notice of removal has been given to the to
Plaintiffs and to the Clerk of the Circuit Court for Meigs County, Tennessee as required by law.
True and correct copies of said Notices are attached hereto as respective Exhibits B and C.

WHEREFORE, the Defendant American prays that this cause be removed from
the Circuit Court for Meigs County, Tennessee to the United States District Court for the Eastern
District of Tennessee, at Chattanooga, for trial and determination as provided in 28 U.S.C. §§ 1441
et req., and thereupon proceed as a cause originally commenced in this Court. To that end, the
Defendant Arnerican prays that all necessary orders and process issue.

Respectfully submitted,

 

 

Attorney for Defendants

Post Ot`&ce Box 869
Knonil.le,Tennessee 37901-0869
(865) 292-2307

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CERTIFICATE OF SERVICE
l hereby certify that a true and exact copy of the foregoing has been served upon the
following
]. Arnold Fitzgerald, Esq.

Post Oftice Box 227
Dayton, Tennessee 37321

by placing a copy in the United States mail, addressed to counsel, With sufficient postage thereon to
carry the same to its destination

This the 29TH day OfAugust 2007.

HODGE U I-ITY & CARSON, PLLC

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By: §/
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